       Case 9:13-cr-00011-DLC Document 137 Filed 12/04/17 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                           CR 13-11-M-DLC-1

                       Plaintiff,
                                                            ORDER
        vs.

 JOSEPH ALLEN LESMEISTER, JR.,

                       Defendant.

      Before the Court is Defendant Joseph Allen Lesmeister, Jr.'s ("Lesmeister")

Unopposed Motion for Early Termination of Probation pursuant to 18 U.S.C. §

3564(c). (Doc. 134.)

      On September 10, 2013, Lesmeister was sentenced to five years of

probation for Possession of Stolen Firearms in violation of 18 U.S.C. § 9220).

(Doc. 80 at 2.) As of the time of his Motion, Lesmeister has served over four

years of his term of probation. (Doc. 135 at 2.) Lesmeister's term of probation is

set to terminate on September 9, 2018.

      Federal law provides that a court may "terminate a term of probation

previously ordered and discharge the defendant" if the court is satisfied that such

action "is warranted by the conduct of the defendant and the interest of justice"

and the defendant has completed at least one year of probation in the case of a

                                         -1-
       Case 9:13-cr-00011-DLC Document 137 Filed 12/04/17 Page 2 of 3



felony. 18 U.S.C. § 3564(c). Courts should consider a subset of the factors set

forth in 18 U.S.C. § 3553(a) to determine whether termination of a term of

probation is appropriate. Id.

       In light of the referenced subset of section 3553(a) factors, specifically

including the nature and circumstances of the offense, defendant's history and

characteristics, continual employment, sobriety, and success on probation, the

Court finds that Lesmeister has shown that early termination of probation is

justified. Lesmeister has served four years on probation, and the interests of

justice and judicial economy weigh heavily in favor of terminating the remaining

time. Lesmeister has satisfactorily complied with his condition of probation and

has required minimal attention from his supervising officer since the inception of

his term. Moreover, Lesmeister is a productive member of society and the Court

is optimistic that Lesmeister will continue to be a lawful citizen.

       Accordingly, IT IS ORDERED that Lesmeister's Unopposed Motion for

Early Termination of Probation (Doc. 134) is GRANTED. The term of probation

imposed by this Court on September 10, 2013, is TERMINATED as of the date of

this order. Lesmeister is hereby DISCHARGED from the sentence of probation in

this case.




                                          -2-
Case 9:13-cr-00011-DLC Document 137 Filed 12/04/17 Page 3 of 3



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DATED this   ±_ day of December, 2 17.




                            Dana L. Christensen, Chief Judge
                            United States District Court




                              -3-
